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 6                        IN THE UNITED STATES DISTRICT COURT

 7                                FOR THE DISTRICT OF ARIZONA

 8   Michael Magee,                           )    No. CV-17-02548-PHX-SPL
                                              )
 9                                            )
                     Plaintiff,               )    ORDER
10   vs.                                      )
                                              )
11                                            )
     National Credit Systems, Inc., et al.,   )
12                                            )
                     Defendants.              )
13                                            )
                                              )
14
15          The Court has been advised that Plaintiff and Defendant National Credit Systems,

16   Inc. have reached a settlement in this case. (Doc. 15.) Accordingly,

17          IT IS ORDERED that Defendant National Credit Systems, Inc. will be dismissed

18   with prejudice from this case on October 6, 2017 unless a stipulation to dismiss is filed

19   prior to the dismissal date.

20          Dated this 22nd day of September, 2017.

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22                                                     Honorable Steven P. Logan
                                                       United States District Judge
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